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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                              Charleston Division


STERLING MISANIN, et al.,
              Plaintiffs,
       v.                                         Case No.: 2:24-cv-04734-BHH

ALAN WILSON, in his official capacity as          PLAINTIFFS’ MOTION FOR          A
Attorney General of South Carolina, et al.,       PRELIMINARY INJUNCTION

              Defendants.
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       Plaintiffs respectfully submit this motion for a preliminary injunction. 1

                                PRELIMINARY STATEMENT

       On April 29, 2024, the Fourth Circuit ruled that refusing state funding for gender-affirming

medical care constitutes unlawful discrimination under the Equal Protection Clause, Section 1557

of the Affordable Care Act, and the Medicaid Act. Kadel v. Folwell, 100 F.4th 122 (4th Cir. 2024)

(en banc). Less than a month later, South Carolina enacted a law that categorically denies medi-

cally necessary care for minors with gender dysphoria, excludes coverage for “gender transition

procedures” under the Medicaid Act, and prohibits any state funding from being used “directly or

indirectly” to provide “gender transition procedures.” Because the law is facially discriminatory,

flouts directly controlling precedent, and is already causing serious and irreparable harm, this

Court should immediately grant a preliminary injunction enjoining enforcement of the law against

Plaintiffs and members of the putative Classes, restoring the pre-enactment status quo.

       House Bill 4624 (“H 4624”), codified in South Carolina Code Annotated §§ 44-42-310 et

seq., imposes significant barriers to healthcare for transgender people. 2 In particular, H 4624: (1)

categorically prohibits medical professionals from providing necessary and potentially lifesaving

care to adolescents under the age of 18 who have been diagnosed with gender dysphoria, even




1
 Plaintiffs do not submit an accompanying memorandum of law because a full explanation of the
motion as set forth in Loc. Civ. R. 7.05 is contained within this motion. See Loc. Civ. R 7.04
(D.S.C.). Further, as of the filing of this motion, conferral with opposing counsel has not been
possible under Loc. Civ. R. 7.02 because opposing counsel has not yet entered an appearance or
otherwise identified themselves to Plaintiffs.
2
  Transgender people are those whose gender identity is different from their sex assigned at birth.
A transgender boy or man is someone who has a male gender identity but was designated female
at birth. A transgender girl or woman has a female gender identity but was designated male at
birth. A nonbinary person is someone whose gender identity does not clearly align with either male
or female identity, and many nonbinary people identify themselves as transgender because their
gender identity does not align with their sex assigned at birth. See Compl. ¶ 54.
                                                  1
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though these treatments are available to non-transgender adolescents, S.C. Code Ann. § 44-42-320

(the “Healthcare Ban” or the “Ban”); (2) prohibits “public funds” from being used “directly or

indirectly for gender transition procedures,” regardless of age, S.C. Code Ann. § 44-42-340 (the

“Public Funds Restriction”); and (3) excludes “gender transition procedures” from coverage under

the South Carolina Medicaid Program, again regardless of age, S.C. Code Ann.§ 44-42-350 (the

“Medicaid Restriction” and, together with the Public Funds Restriction, the “Coverage Re-

strictions”). These provisions prevent transgender South Carolinians from receiving medically

necessary care that remains available to non-transgender people.

       Plaintiffs are adolescents and adults who have been diagnosed with gender dysphoria and

who access medically necessary gender-affirming healthcare, as well as the parents of adolescent

plaintiffs. Plaintiffs have either received denials of care or anticipate receiving such denials.

       H 4624 took effect on May 21, 2024. Since then, some South Carolinians have already lost

their care, while others face imminent loss of care or an inability to start care. Absent intervention

by this Court, H 4624 will inflict irreparable harm on transgender adolescents and adults, as well

as their families, who must suffer without essential healthcare or go to extreme lengths to secure

it elsewhere for themselves or their loved ones.

       All relevant considerations strongly weigh in favor of preliminary injunctive relief. The

Fourth Circuit’s recent ruling in Kadel v. Folwell, 100 F.4th 122 (4th Cir. 2024), which struck

down virtually identical Coverage Restrictions, confirms that Plaintiffs’ challenges to H 4624’s

Healthcare Ban and Coverage Restrictions under the Equal Protection Clause, the Due Process

Clause, the Affordable Care Act and the Medicaid Act are likely to succeed. Because H 4624 is

causing, and will continue to cause, immediate and irreparable harm to all Plaintiffs and the




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corresponding Class members, and the balance of equities and the public interest both weigh heav-

ily in favor of a preliminary injunction, this Court should grant Plaintiffs’ requested relief.

                                    STATEMENT OF FACTS

I.     Guidelines for the Treatment of Gender Dysphoria

       Gender identity is a person’s “deeply felt, inherent sense of their gender.” Kadel, 100 F.4th

at 136; see also Karasic Decl. ¶ 31 (citing American Psychological Association, 2015, at 834).

Gender identity does not always align with a person’s sex assigned at birth, which is generally

based on the appearance of a newborn’s external genitalia. See Kadel, 100 F.4th at 137; Karasic

Decl. ¶ 31; Olson-Kennedy Decl. ¶ 26. Gender identity, which has biological bases, is not a product

of external influence and not subject to voluntary change. Karasic Decl. ¶ 31; Olson-Kennedy

Decl. ¶ 27; see Kadel v. N. Carolina State Health Plan for Tchrs. & State Emps., 12 F.4th 422,

427 (4th Cir. 2021).

       The term “gender dysphoria” refers to “a condition characterized by clinically significant

distress and anxiety resulting from the incongruence between an individual’s gender identity and

birth-assigned sex.” Kadel, 100 F.4th at 137; see also, Karasic Decl. ¶ 32; Olson-Kennedy Decl.

¶ 29. For both adolescents and adults, the clinical diagnosis of gender dysphoria involves two ma-

jor diagnostic criteria: (1) a marked incongruence between the gender experienced and expressed

by an individual and the gender assigned to that individual, and (2) associated clinically significant

distress or impairment in social, occupational, or other important areas of functioning. Karasic

Decl. ¶¶ 34-35 (quoting Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition,

Text Revision (“DSM-5”) (DSM-5 released in 2013)).

       To reduce or eliminate this distress, treatment—referred to as gender-affirming medical

care—seeks to align an individual’s body and presentation with their gender identity. See Karasic


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Decl. ¶ 52. The medical community recognizes gender-affirming medical care as well-established

and evidence-based: it is neither experimental nor investigational. Antommaria Decl. ¶¶ 36, 71.

The World Professional Association for Transgender Health (“WPATH”) and the Endocrine So-

ciety have developed longstanding, continuously maintained, evidence-based guidelines for gen-

der-affirming medical care (the “Guidelines”). 3 Kadel, 100 F.4th at 137-38; Karasic Decl. ¶¶ 37-

40. The Guidelines include WPATH’s Standards of Care for the Health of Transgender and Gender

Diverse People, Version 8 (“SOC 8”), and the Endocrine Society’s standard of care for the provi-

sion of hormone therapy as treatment for gender dysphoria (“Endocrine Society Guideline”).

       The Guidelines recommend interventions that are individualized based on patient needs,

and treatment may include puberty-delaying medications, hormone therapy, and surgeries. Kadel,

100 4th at 136–37; Karasic Decl. ¶ 41. Puberty-delaying medications are indicated primarily for

adolescents to pause the development of secondary sex characteristics that are inconsistent with

their gender identity (and avoid the accompanying distress) and to provide additional time for

adolescents to explore their gender identity before making further decisions about puberty. Shumer

Decl.¶¶ 62, 67; see also SOC 8 at S60. Hormone therapy allows for physical development more

closely aligning with a person’s gender identity, helping alleviate gender dyspho-

ria. Shumer Decl. ¶ 71; see also SOC 8 at S110. Both puberty-delaying medications and hormone



3
  WPATH, an “interdisciplinary professional and educational organization devoted to transgender
health,” has issued published versions of standards of gender-affirming care since 1979 anchored
in methodological and evidence-based medical science and based on a systemic review of all
available scientific evidence and the clinical experience of many experts in the field. WPATH,
Mission and Vision, www.wpath.org/about/mission-and-vision (last visited Aug. 28., 2024). The
most recent version, published in 2022, is Standards of Care for the Health of Transgender and
Gender Diverse People, Version 8 (“SOC 8”). The Endocrine Society, a professional society of
endocrine scientists and clinicians, has promulgated a similar standard of care and a set of clinical
practice guidelines for the provision of hormone therapy as a treatment for gender dysphoria in
minors and adults (“Endocrine Society Guideline”).
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therapy (primarily testosterone and estrogen) are used in minors and adults to treat a variety of

conditions other than gender dysphoria. Shumer Decl. ¶¶ 64, 68; Olson-Kennedy Decl. ¶¶ 39, 69-

71; Antommaria Decl. ¶¶ 74-75. Gender-affirmation surgery (GAS) refers to a “constellation of

procedures designed to align a person’s body with their gender identity.” SOC 8 at S128; see also

Karasic Decl. ¶¶ 37-62. Many of these procedures are used to treat conditions other than gender

dysphoria. See, e.g., Antommaria Decl. ¶ 75.

       The denial of medically indicated care to transgender people not only prolongs and inten-

sifies their gender dysphoria, but also causes additional distress and poses other health risks, such

as depression, posttraumatic stress disorder, and suicidality. Karasic Decl. ¶ 66. It is “undisputed

that gender dysphoria is a serious diagnosis that, if left untreated, can lead to self-mutilation and

suicide.” Kadel v. Folwell, 620 F. Supp. 3d 339, 380 (M.D.N.C. 2022). Accordingly, major med-

ical organizations, such as the American Medical Association, American Psychiatric Association,

and American College of Obstetricians and Gynecologists, endorse the treatment guidelines con-

tained in SOC 8 and the Endocrine Society Guideline, oppose the denial of this medically neces-

sary care and support public and private health insurance coverage for treatment of gender dys-

phoria as recommended by the patient’s physician. Karasic Decl. ¶ 59; Antommaria Decl. ¶ 34;

Olson-Kennedy Decl. ¶ 32; Shumer Decl.¶ 53.

II.    Treatment of Adolescents with Gender Dysphoria

       Recognizing the “unique aspects that distinguish adolescence from other developmental

stages,” 4 SOC8 at S49, the Guidelines also provide specific evidence-based recommendations for




4
  These aspects include identity exploration, caregiver/parent involvement, and the onset of
puberty, all of which require a specialized regimen of treatment for gender dysphoria in
adolescents. SOC8 at S49; Karasic Decl.¶¶ 43-47.
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the treatment of adolescents with gender dysphoria. Karasic Decl. ¶¶ 37, 44; Shumer Decl. ¶ 36.

Under the Guidelines, gender-affirming medical care is only provided when an adolescent patient

has: (i) gender incongruence that is both marked and sustained over time; (ii) a diagnosis of gender

dysphoria; (iii) sufficient emotional and cognitive maturity to understand the potential side effects

and provide informed consent; (iv) actually provided informed consent; and (v) the absence or

mitigation of any countervailing mental health concerns. Karasic Decl. ¶ 43; SOC 8 at S48. Paren-

tal consent is also required for adolescents to access medical care. Karasic Decl. ¶ 44; see also

SOC 8 at S58; Antommaria Decl. ¶¶ 45, 47 (“The current treatment paradigm for treating gender

dysphoria … is consistent with general ethical principles instantiated in the practices of informed

consent.”).

       Treatment for gender dysphoria depends on, among many other individualized factors, a

patient’s state of pubertal development. Under the Guidelines, no medical treatments are provided

before the onset of puberty. Karasic Decl. ¶ 41; SOC 8 at S59. Adolescents diagnosed with gender

dysphoria who have reached the stage of puberty wherein the physical effects of testosterone or

estrogen production are first apparent on physical exam (referred to as “Tanner Stage 2”) may

begin medical treatment, usually starting with puberty-delaying medications, sometimes referred

to as puberty-blockers. Shumer Decl. ¶ 62.

       Puberty-delaying medications are a fully reversible treatment. Shumer Decl. ¶ 64; Olson-

Kennedy Decl. ¶ 39. They work by pausing endogenous puberty at its present stage when the

treatment begins, forestalling the influence of a person’s endogenous hormones on their body.

Shumer Decl. ¶ 63. For example, a transgender girl will pause progression of physical changes

caused by testosterone, including facial and body hair, an Adam’s apple, or masculinized facial




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structures. Id. And, in a transgender boy, those medications pause progression of breast develop-

ment, menstruation, and widening of the hips. Id.

        For adolescents and adults, the Guidelines provide for medical interventions that are indi-

vidualized based on patient needs and may include puberty-delaying medications, hormone ther-

apy, or (rarely for adolescents) surgeries. See Karasic Decl. ¶¶ 47-49. As with all medical inter-

ventions, the ultimate course of treatment is individualized based on and responsive to the partic-

ular medical and mental health needs of each patient. Id. at ¶ 49.

       In some cases, hormone therapy may be medically necessary. Id. at ¶ 46. For adolescents,

gender-affirming hormone therapy in adolescence can minimize dysphoria later in life and may

eliminate the need for surgery. See id. at ¶¶ 9-12. These hormone therapies are used to facilitate

development of sex-specific physical changes congruent with one’s gender identity. Shumer Decl.

¶ 71; Olson-Kennedy Decl. ¶ 51. For example, a transgender boy prescribed testosterone will de-

velop a lower voice as well as facial and body hair, while a transgender girl prescribed estrogen

will experience breast growth, female fat distribution, and softer skin. Shumer Decl. ¶ 71.

       Regardless of the treatment plan prescribed, at every encounter with the care team, there is

a re-evaluation of the patient’s gender identity and their transition goals. Shumer Decl. ¶ 75.

Should a patient desire to discontinue a medical intervention, the intervention is discontinued. Id.

Studies in which participants have undergone comprehensive evaluation prior to gender-affirming

medical care show low levels of regret. Id. at ¶ 75 (citing de Vries, et al., 2011; van der Loos, et

al., 2022; Wiepjes, et al., 2018); Antommaria Decl. ¶ 60.

       Without gender-affirming medical care, transgender adolescents may experience extreme

distress as they go through puberty in accordance with the sex assigned to them at birth. Karasic

Decl. ¶ 66; Olson-Kennedy Decl. ¶¶ 38-39. Provision of puberty blockers and gender-affirming

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hormones for transgender youth decreases depression, anxiety, and suicidality. Shumer Decl.

¶¶ 34, 84, 87; Karasic Decl. ¶ 52. Denial of access to this care for transgender adolescents is thus

opposed by mainstream organizations responsible for the care of youth, including the American

Medical Association, American Psychiatric Association, the Endocrine Society, American College

of Obstetricians and Gynecologists, American Academy of Family Physicians, and American

Academy of Pediatrics. Karasic Decl. ¶¶ 6, 65 (citing American Medical Association, 2021; Amer-

ican Psychiatric Association, 2018; Endocrine Society, 2012, American Congress of Obstetricians

and Gynecologists, 2021; American Academy of Family Physicians, 2020); Senate Comm. on

Med. Affs – Senate Med. Affs. Subcomm on H 4624 (Feb. 14, 2024) (Testimony of Dr. Elizabeth

Mack, President of the South Carolina Chapter of the American Academy of Pediatrics at 52:36-

1:30:32) (citing the American Academy of Pediatrics’ Guidelines opposing denial of gender-af-

firming care).

        Furthermore, there is no evidence-based alternative to gender-affirming medical care for

treating gender dysphoria in adolescents where such interventions are medically indicated. Karasic

Decl. ¶ 67. While behavioral health interventions are an important component of treatment for

many, the literature has established for decades that mental health interventions alone are insuffi-

cient to treat gender dysphoria. Karasic Decl. ¶ 68.

III.    South Carolina Restricts Access to Gender-Affirming Care Through H 4624

        H 4624, signed by Governor McMaster on May 21, 2024 and effective as of that date,

prohibits healthcare professionals from “knowingly [providing] gender transition procedures to a

person under eighteen years of age,” § 44-42-320(A); categorically excludes the use of public

funds “directly or indirectly” for any gender transition procedures, including procedures provided

to adults, § 44-42-340; and prohibits Medicaid reimbursement from the South Carolina Medicaid


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Program for “practices prohibited under the provision of this chapter,” presumably referring to the

provision of “gender transition procedures” to minors. § 44-42-350. 5

        The law defines “gender transition procedures” to include “puberty-blocking drugs,” (“any

drug to suppress or delay normal pubertal development in children”); “cross-sex hormones” (“tes-

tosterone, estrogen, or progesterone given to an individual in an amount greater than would nor-

mally be produced endogenously . . .”); and “gender reassignment surgery,” including “any surgi-

cal service that seeks to surgically alter or remove healthy physical or anatomical characteristics .

. . typical for the individual’s sex, in order to instill or create physiological . . . characteristics that

resemble a sex different from the individual’s sex.” § 44-42-310.

        The Healthcare Ban subjects healthcare professionals who provide minors with gender

transition procedures to both professional discipline and criminal penalties. The provision of pro-

hibited services is considered “unprofessional conduct . . . subject to discipline by the licensing

entity with jurisdiction over the physician.” § 44-42-360. Furthermore, “[a] physician who know-

ingly performs genital gender reassignment surgery in violation of [H 4624] is guilty of inflicting

great bodily injury upon a child.” § 44-42-320. (The crime of “great bodily injury upon a child” is

a felony carrying a maximum penalty of twenty years imprisonment. S.C. Code Ann. § 16-3-

95(A).) The healthcare professionals may also be sued by the Attorney General or private parties.

§ 44-42-365.

        H 4624 is part of a wave of legislation in this state designed to isolate, stigmatize and

discriminate against transgender people. During the most recent legislative session, the Senate

introduced 12 bills targeting transgender people and the House introduced 17 such bills, in addition



5
  Because the Public Funds Restriction, § 44-42-340, would necessarily include the Medicaid
program, the prohibition on Medicaid reimbursement also extends to adult patients.
                                              9
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to H 4264. 6 In June, the General Assembly passed a state budget for Fiscal Year 2024-2025 that

restricts transgender students’ access to school restrooms and locker rooms. S.C. General Appro-

priations Bill H 5100, Part IB, Section 1, Proviso 1.120.

IV.    South Carolina’s Ban on Gender-Affirming Care Inflicts Severe and Irreparable
       Harms

       By cutting off access to treatment that transgender South Carolinians rely on for their health

and well-being and limiting future access to treatment, H 4624 causes immediate, severe, and ir-

reparable harm to all of the Plaintiffs and Classes. Minor Plaintiffs Grant Goe and Nina Noe are

experiencing anxiety, distress, and potentially permanent physiological changes if they are denied

the critical gender-affirming medical care they need for gender dysphoria. Adult Plaintiffs Sterling

Misanin, Jane Doe, and Jill Ray are experiencing anxiety, distress, and potentially permanent phys-

iological changes if they are cut off from the funding of their critical gender-affirming medical

care, or from preferred providers of that care. Parent Plaintiffs Nancy Noe and Gary Goe have had

their parental judgment and decision-making authority usurped by the government and will either

have to disrupt their lives at great cost to seek care out of state or endure watching their children

suffer without the medical treatment they need.




6
  SC H 4624; H 3197, H 3485, SB 1213, H 3304, H 3466, H 3728, H 3827, H 4663, H 4707, SB
0743, SB 234, SB 274, SB 424 (prohibiting mandatory gender or sexual diversity training in higher
education and local education agencies, or limiting the discussion of transgender topics in
education and schools, including use of “preferred” pronouns and/or forced outing of students);
H 3551, H 4619, H 4624, SB 127, SB 243, SB 627 (alternate versions of gender-affirming care
ban); H 3611, H 3801, SB 0975 (protecting the right to discriminate against transgender
individuals on moral or religious grounds); H 3616, SB 585 (criminalizing drag shows in a manner
that targets transgender performers); H 4535, H 4538, H 5407 (restricting transgender people’s
access to bathrooms); SB 623, SB 364 (restricting right of transgender individuals to obtain gender
markers on identification documents).
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                                       LEGAL STANDARD

       A preliminary injunction is warranted where a plaintiff (1) is “likely to succeed on the

merits;” (2) is “likely to suffer irreparable harm in the absence of preliminary relief;” (3) can show

“the balance of equities tips in [its] favor;” and (4) can show the injunction “is in the public inter-

est.” Roe v. Dep’t. of Def., 947 F.3d 207, 219 (4th Cir. 2020) (citation omitted) (citing Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). When a preliminary injunction is sought

against the government, these last two factors merge. Nken v. Holder, 556 U.S. 418, 435, 129 S.

Ct. 1749, 1762 (2009); see also Guilford College v. McAleenan, 389 F. Supp. 3d 377, 395

(M.D.N.C. 2019).

                                           ARGUMENT

       Plaintiffs here meet each of the requirements for a preliminary injunction.

       First, as discussed further below, Plaintiffs are likely to succeed on each of their claims.

The Fourth Circuit has already held that where, as here, a law or restriction bars transgender indi-

viduals from receiving categories of care available to others, that law or restriction violates the

Equal Protection Clause. See Kadel v. Folwell, 100 F.4th at 141-157. Similarly, because H 4624

prevents Parent Plaintiffs from securing doctor-recommended care for their children, they are also

likely to succeed on the merits of their substantive due process claim. See, e.g., Brandt v. Rutledge,

551 F. Supp. 3d 882, 892 (E.D. Ark. 2021) aff’d, 47 F.4th 661 (8th Cir. 2022). Finally, as with

Plaintiffs’ Equal Protection Claim, the Fourth Circuit has already confirmed in Kadel that similar

restrictions on the provision of gender-affirming care violate both the ACA and the Medicaid Act.

See Kadel, 100 F.4th at 161-64.

       Second, by being denied access to necessary healthcare, and having their health insurance

coverage cut off for this care, Plaintiffs and the members of the Classes they represent are likely


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to—and have already suffered—irreparable harm due to H 4624. Although the State’s violation of

Plaintiffs’ and the Classes’ constitutional rights alone justifies an injunction, the harms in this case

concern critical, and potentially lifesaving, medical care and go far beyond any legal formality.

        Finally, given the significant harm suffered by Plaintiffs if South Carolina continues to

block access to life-saving care, contrary to existing medical guidelines recognized as authoritative

by all mainstream medical associations in the United States, and in the absence of any scientifically

credible basis for denying that care or any articulated, permissible state interest, the balance of

equities and public interest weighs in favor of a statewide injunction to prevent irreparable harm

against Plaintiffs and the Classes.

I.      Plaintiffs Are Likely to Succeed on Their Equal Protection Claim

        H 4624 imposes the same categorical prohibitions on medical care for individuals diag-

nosed with gender dysphoria that the Fourth Circuit has already held impermissibly violates the

Equal Protection Clause. In Kadel, the Fourth Circuit ruled that similar denials of gender-affirming

medical care to people diagnosed with gender dysphoria through North Carolina and West Vir-

ginia’s publicly-funded insurance plans violated those individuals’ rights under the Equal Protec-

tion Clause. See Kadel, 100 F.4th at 141–157. As in Kadel, H 4624 classifies based on sex and

transgender status, is not substantially related to a sufficiently important government interest and

cannot survive the “exacting” test imposed by heightened equal protection scrutiny. United States

v. Virginia (“VMI”), 518 U.S. 515, 555 (1996); Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586,

608 (4th Cir. 2020).

        A.      Heightened Scrutiny Applies Because H 4624 Classifies Based on Transgender
                Status and Sex

        The Equal Protection Clause of the Fourteenth Amendment prohibits state action that “cre-

ates arbitrary or irrational distinctions between classes of people out of a bare … desire to harm a

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politically unpopular group.” Grimm, 972 F.3d at 606–07. Different “level[s] of scrutiny” apply to

state actions depending on the “basis of the distinction between the classes of persons.” Id. at 607;

see also Morrison v. Garraghty, 239 F.3d 648, 654 (4th Cir. 2001). Laws that employ “quasi-

suspect” classifications are subject to heightened scrutiny, “meaning that they fail unless they are

substantially related to sufficiently important governmental interests.” Grimm, 972 F.3d at 608

(citation omitted).

       Because H 4624 facially classifies based on transgender status and sex, it is subject to at

least heightened scrutiny. See Kadel, 100 F.4th at 142–43 (applying heightened scrutiny to indis-

tinguishable North Carolina and West Virginia healthcare bans); Grimm, 972 F.3d at 611–13. 7

               1.      H 4624 Classifies Based on Transgender Status

       The plain text of H 4624 classifies based on transgender status. The title of the law itself—

“An Act to . . . Prohibit the Provision of Gender Transition Procedures to a Person Under Eighteen

Years of Age . . .”—uses “gender transition” as a proxy for transgender status to impose disparate

treatment. The Coverage Restrictions extend that classification to adults. The law expressly clas-

sifies patients—both adolescents and adults—for differential treatment based on transgender sta-

tus. “[G]ender dysphoria is so intimately related to transgender status as to be virtually



7
  Although this Court is bound by precedent to apply heightened scrutiny, H 4624 notably cannot
withstand any level of scrutiny. There is no rational basis to conclude that allowing minors with
gender dysphoria to receive gender-affirming medical care that they, their parents, and their
doctors agree is medically necessary “would threaten legitimate interests of [South Carolina] in a
way that” allowing that treatment for other purposes “would not.” City of Cleburne v. Cleburne
Living Ctr., 473 U.S. 432, 448 (1985); see also Eisenstadt v. Baird, 405 U.S. 438, 452 (1972)
(health risks of birth control pills not a rational basis for banning access for unmarried people while
allowing access for married people). Nor is there any rational basis to conclude that funding
gender-affirming medical care would threaten any legitimate interest of South Carolina. Even
under rational basis review, the justifications for H 4624 “ma[k]e no sense in light of how the
[statute] treat[s] other [procedures] similarly situated in relevant respects.” Bd. of Trs. of Univ. of
Ala. v. Garrett, 531 U.S. 356, 366 n.4 (2001).
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indistinguishable from it.” Kadel, 100 F.4th at 146; see also id. (“[I]ncongruity between sex as-

signed at birth and gender identity [is] the very heart of transgender status.”); Williams v. Kincaid,

45 F.4th 759, 772 (4th Cir. 2022) (observing as a matter of constitutional avoidance that the Court

has “little trouble concluding that a law excluding” gender dysphoria from protection “would dis-

criminate against transgender people as a class”).

       As in Kadel, by prohibiting medical treatments based on whether they are “provided or

performed for the purpose of assisting an individual with a physical gender transition”—“the pro-

cess in which a person goes from identifying with and living as a gender that corresponds to his or

her sex to identifying with and living as a gender different from his or her sex,” § 44-42-310(5-

6)—H 4624 expressly and exclusively targets transgender people. See Kadel, 100 F.4th at 143–49

(holding (1) treatments “in connection with sex changes” are “treatments for gender dysphoria,”

(2) “gender dysphoria, a diagnosis inextricable from transgender status, is a proxy for transgender

identity,” and (3) classifications that prevent treatment for gender dysphoria, “bar treatments on

the basis of transgender identity by proxy”). Because non-transgender adolescents may continue

receiving the very same puberty-delaying, hormonal, and, rarely, surgical treatments that H 4624

denies to transgender adolescents, § 44-42-310(6), 8 and because public funds may still be used to



8
  See Shumer Decl. ¶¶ 64, 68 (“As an experienced pediatric endocrinologist, I treat patients with
these same medications for both precocious puberty and gender dysphoria and in both cases the
side effects are comparable and easily managed.”), 69 (Puberty delaying treatments are prescribed
off-label for adolescents for conditions including for endometriosis and growth hormone
deficiency.), 78, 80 (Puberty delaying treatments prescribed for adolescents for other conditions,
including precocious puberty.), 85 (Hormone therapy is prescribed to adolescents to treat other
conditions, including “delayed puberty, hypogonadism, Turner Syndrome, Klinefelter Syndrome,
agonism, premature ovarian failure, and disorders of sex development.”); Antommaria Decl. ¶¶ 38
(The level of evidence supporting prescription of GnRH to adolescents with gender dysphoria the
same “as supports the use of GnRH analogs for the treatment of central precocious puberty which
the Ban permits[.]”), 57 (“[T]he potential risks of gender affirming medical care are comparable

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provide non-transgender adults with the same care that is no longer covered for those diagnosed

with gender dysphoria, § 44-42-340, H 4624 “transparently discriminates against . . . transgender”

people. Kadel, 620 F. Supp. 3d at 376; see also, Kadel, 100 F.4th at 152 (exclusions for treatment

of gender dysphoria were “obviously discriminatory” against transgender people).

                2.      H 4624 Facially Classifies Based on Sex

        H 4624 is also subject to heightened scrutiny because, like the laws challenged in Kadel,

the law on its face classifies based on sex and assigns disparate treatment based on that classifica-

tion. Kadel, 100 F.4th at 153. As set forth above, H 4264’s restrictions apply if the treatment in

question is “provided or performed for the purpose of assisting an individual with a physical gender

transition,” defined as “the process in which a person goes from identifying with and living as a

gender that corresponds to his or her sex to identifying with and living as a gender different from

his or her sex.” § 44-42-310(5-6), 44-42-320(A-B) (emphasis added). In other words, H 4624 is

“textbook sex discrimination”; applying restrictions on care only when the purpose of that care is

to “align a patient’s gender presentation with a gender identity that does not match their sex as-

signed at birth.” Kadel, 100 F.4th at 153. By prohibiting treatment if and only if one’s gender

presentation does not match their sex designated at birth, a person’s sex necessarily determines

their treatment under the law: it is a but-for cause of the disparate treatment. Id.; see also id. at 147

(“restriction on funding is impermissibly discriminatory when it “cannot be done ... without in-

quiring into a patient’s sex assigned at birth and comparing it to their gender identity”).

        H 4624 also discriminates on the basis of sex by punishing a person’s failure to conform

to sex stereotypes or expectations associated with a particular sex designated at birth. As Grimm




to the risks parents and adolescents are permitted to assume in numerous other treatment decisions,
including decisions explicitly authorized by this legislation.”)
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recognized, “policies [that] punish transgender persons for gender non-conformity” constitute im-

permissible sex stereotyping. 972 F.3d at 608; see also Kadel, 100 F.4th at 154 (“[A] policy that

conditions access to gender-affirming surgery on whether the surgery will better align the patient’s

gender presentation with their sex assigned at birth is a policy based on gender stereotypes.”).

H 4624 enforces such stereotypes. If an individual conforms with their sex assigned at birth, they

can access care without restriction under H 4624. Shumer Decl. ¶¶ 64, 68, 69, 78, 80, 85; see also

Antommaria Decl. ¶¶ 38, 57. But if the care is for a gender transition—to live in accordance with

a gender that diverges from sex assigned at birth—the law strictly prohibits any new course of care

for that purpose and prohibits state funding to that end. Accordingly, H 4624 “tethers [people] to

sex stereotypes which, as a matter of medical necessity, they seek to reject.” Kadel, 446 F.Supp.3d

at 14. 9



9
  Although the Court need not reach this issue given that Kadel’s facial discrimination analysis
controls, even if H 4624 did not explicitly classify based on transgender status and sex, it would
still be subject to heightened scrutiny as a law passed in part “because of,” not just “in spite of,”
its adverse effects on transgender individuals. Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279
(1979). In line with the title of the law that openly declares its aim to “Prohibit the Provision of
Gender Transition Procedures,” enforcing state-mandated gender conformity was not an incidental
effect of the statute, but rather its purpose. This discriminatory intent is only understored by
H 4624’s legislative history. See Vill. of Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S.
252, 266 (1977) (holding a clear pattern, unexplainable on grounds other than the protected
characteristic, is determinative of discriminatory intent). The General Assembly passed H 4624
despite hearing from fifty-three South Carolinians, including parents of transgender children and
their doctors, that the law would cause harm. Instead of heeding the warnings and lived experiences
of their constituents, proponents of H 4624 within the General Assembly defended the bill based
on general criticisms and stereotypes of transgender people. A sponsor of the bill described gender-
affirming procedures as “heinous,” and another house member identified gender dysphoria as the
result of “peer pressure.” House Med., Mil., Pub. and Mun. Affs. Comm. — 3-M Full Committee
on H.4617 and H.4624 (Jan. 10, 2024) (Statement of Rep. Pace, Member, H. Comm. on Med., Mil.
Pub. and Mun. Affs. at 32:18-21); Id. (Statement of Rep. Beach, Member, H. Comm. on Med.,
Mil. Pub. and Mun. Affs. at 37:10-15; 39:40-40:00). A third house member called transgender
identity “a mental disorder.” Id. (Statement of Rep. White, Member, H. Comm. on Med., Mil. Pub.
and Mun. Affs. at (59:09-25). Members of the Senate Medical Affairs Committee compared

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        B.     H 4624 Fails Heightened Equal Protection Scrutiny

        To survive the heightened scrutiny required here, South Carolina must, at a minimum, pro-

vide an “exceedingly persuasive justification” for H 4624’s classifications, Kadel, 100 F.4th at

156, which must be “substantially related to a sufficiently important governmental interest,”

Grimm, 972 F.3d at 607. H 4624 cannot survive this “exacting” test, which places a “demanding”

burden of justification “entirely on the State.” VMI, 518 U.S. at 533, 555.

        South Carolina has not even attempted to meet its burden. H 4624 asserts no state interest

and includes no legislative findings whatsoever. The State has thus provided no record to support

any interest purportedly advanced by the law other than discriminatory animus toward transgender

people. 10

        South Carolina has not presented, and cannot present, any evidence that would justify treat-

ing gender-affirming healthcare differently from all other healthcare posing similar risks and ben-

efits or supported by comparable evidence of efficacy. As is now well recognized in this Circuit, 11

the gender-affirming medical treatments prohibited by H 4624 are safe, effective, and evidence-

based. Karasic Decl. ¶ 25; Olson-Kennedy Decl. ¶¶ 50, 55-59; see also Antommaria Decl. ¶ 31

(explaining that gender-affirming medical care is neither harmful nor experimental.). Gender




students coming out to their teachers as transgender to students dressing up as animals. Senate
Comm. on Med. Affs – Senate Med. Affs. Subcomm. on H 4624 (Feb. 21, 2024) (Statements of
Sens. Garrett and Loftis, Members, S. Comm. on Med. Affs at 7:50-9:30).
10
   In the absence of a factual record supporting a genuine contemporaneous interest, the State
cannot retroactively construct a state interest in response to this action. See Kadel, 100 F.4th at
156 (“A law that discriminates against a quasi-suspect class ‘must be genuine, not hypothesized
or invented post hoc in response to litigation.’” (quoting VMI, 518 U.S. at 533)).
11
   See, e.g., Kadel, 620 F. Supp. 3d 339, 380 (M.D.N.C. 2022) (Defendants West Virginia and
North Carolina could not point to any evidence that WPATH standard treatments are ineffective
in treating gender dysphoria).
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dysphoria often intensifies if left untreated, leading to depression, anxiety, and suicidality. See, id.

at ¶ 48; Karasic Decl. ¶ 67; Olson-Kennedy Decl. ¶ 78; Shumer Decl. ¶ 39.

        Evidence supports the efficacy of these treatments for both adolescents and adults. The

scientific literature supporting gender-affirming care for gender dysphoria includes cross-sectional

and longitudinal studies, and extensive clinical experience. Karasic Decl. ¶¶ 50-59; Olson-Ken-

nedy Decl. ¶¶ 40, 46, 53, 67; Shumer Decl. ¶ 40. This evidence base is comparable to the level of

evidence supporting many other pediatric medical treatments. Antommaria Decl. ¶ 6; Karasic

Decl. ¶ 38; Shumer Decl. ¶ 89-90. Again, this fact is well established both in the medical literature

and by this Circuit’s jurisprudence. See, e.g., Kadel, 620 F. Supp. 3d at 380 (“[Defendants] cover

many [gender-affirming procedures] for other serious illnesses notwithstanding their risks and side

effects.”). All of the endocrine treatments—pubertal suppression, testosterone, estrogen and tes-

tosterone suppression—prohibited by H 4624 are used to treat other conditions in adolescents,

including precocious puberty, and carry comparable risks and side effects regardless of the indi-

cation for which they are prescribed. Shumer Decl. ¶¶ 64, 68-69, 78,80, 85. Other medical treat-

ments prohibited by H 4624, when prescribed to transgender adolescents, are used to treat other

conditions in non-transgender adolescents and carry comparable risks and side effects regardless

of the indication for which they are prescribed. See Antommaria Decl. ¶¶ 42, 54; see also Brandt

v. Rutledge, 677 F. Supp. 3d 877, 902-04 (E.D. Ark. 2023). The treatments provided to adolescents

with gender dysphoria do not affect an individual’s future fertility any more than those who receive

similar care for other indications. See Antommaria Decl. ¶¶ 49-52.

        Ordinarily, “doctors and patients, when fully aware of the risks and elusive benefits of

available treatments, should decide if medicine or surgery is necessary.” Kadel, 620 F.Supp.3d at

380 (emphasis in original) (citing state expert’s testimony). “This is Plaintiffs’ request: that they

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and their doctors, not their sex or transgender status, determine when their treatments are appro-

priate.” Id. “There is nothing unique about the risks of gender-affirming medical care for adoles-

cents that warrants taking this medical decision out of the hands of adolescent patients, their par-

ents, and their doctors.” Brandt, 677 F. Supp. 3d at 902–04.

       Further, while all medical treatment comes with risk, decades of research and clinical ex-

perience show that any risks are greatly outweighed by the benefits of the care. Antom-

maria Decl. ¶ 56; Karasic Decl. ¶¶ 12, 38, 52-53; Olson-Kennedy Decl. ¶¶ 40-50, 53-63, 65-67,

76-77; Shumer Decl. ¶¶ 83-84. Indeed, the existing treatment protocols carefully address potential

risks through a robust informed consent process that is tailored to the maturity of the adolescent

and requires consent by the adolescent’s parents or guardian. Antommaria Decl. ¶ 45; Karasic

Decl. ¶¶ 45,53; Olson-Kennedy Decl. ¶ 68.

       What is clear, however, is that transgender adolescents are severely and irreparably harmed

when they are denied access to medically necessary gender-affirming care. Karasic Decl. ¶¶ 12,

67-69; Olson-Kennedy Decl. ¶ 78. The denial of gender-affirming medical care to transgender

people when medically indicated “not only results in the prolonging of their gender dysphoria, but

causes additional distress and poses other health risks, such as depression, posttraumatic stress

disorder, and suicidality,” as well as “directly contribut[ing] to poorer mental health outcomes.”

Karasic Decl. ¶ 67. Prohibiting this care would require transgender adolescents to undergo endog-

enous puberty, causing potentially severe or life-threatening distress, and in many cases irreversi-

ble changes to the body.

       Simply put, gender-affirming medical care greatly improves the health and wellbeing of

adolescent patients with gender dysphoria. It does not harm them. Rather, it allows them to thrive.

“Without evidence that the treatments are ineffective to treat gender dysphoria, Defendants cannot

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meet their burden to show that the risks substantially outweigh the benefits so as to justify their

sex- and transgender-based policy.” Kadel, 620 F.Supp.3d at 380. Because the State provides no

credible justification explanation for why gender-affirming care should be treated differently from

all other medical treatment, much less a “exceedingly persuasive” justification, H 4624 cannot

survive heightened scrutiny review.

       Even if the Healthcare Ban was intended to prevent some demonstrated medical harm to

children, heightened scrutiny requires that the Ban be “substantially related to that end.” Kadel,

100 F.4th at 156; see also, Sessions v. Morales-Santana, 582 U.S. 47, 68 (2017) (“[A] close means-

end fit [is] required to survive heightened scrutiny.”). Here, the treatments that are banned for

transgender adolescents are not banned for other adolescents, thus the ends of protecting children

from purported medical harm are not achieved by means of the Healthcare Ban. The statute ex-

pressly allows for similar procedures to be conducted in the cases of “precocious puberty, prostate

cancer, breast cancer, endometriosis … or a medically verifiable disorder of sexual development,”

§ 44-42-310, and many of the banned treatments are routinely used to treat these and other condi-

tions. Shumer Decl. ¶¶ 64, 68-69, 78, 80, 85; Antommaria Decl. ¶¶ 38, 49, 74. Furthermore, the

complaints commonly leveled against these treatments—for, example, that they are based on

“low” quality, observation evidence—can be leveled against other treatments not targeted by the

Healthcare Ban, such as pediatric obesity and congenital adrenal hyperplasia. Antommaria Decl.

¶ 36. Therefore, the Ban is insufficiently tailored to the harm it purports to address. Morales-San-

tana. 582 U.S. at 49 (Statute did not pass heightened scrutiny because “the gender-based means

scarcely serve the posited end.”).




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II.    Parent Plaintiffs Are Likely to Succeed on the Merits of their Due Process Claim

       The Healthcare Ban separately violates the Due Process Clause because it burdens parents’

fundamental right “in the care, custody, and control of their children ... perhaps the oldest of the

fundamental liberty interests recognized by [the Supreme Court].” Troxel v. Granville, 530 U.S.

57, 65 (2000).

       The Healthcare Ban thus triggers strict scrutiny because it burdens the fundamental rights

of parents to seek medical care that they and their medical providers have determined is appropriate

for their minor children. As discussed above, H 4624 cannot survive any level of constitutional

scrutiny, let alone the most stringent review required for intrusions into fundamental rights. Ac-

cordingly, the Parent Plaintiffs are likely to succeed on the merits of their substantive due process

claim. Brandt, 551 F. Supp. 3d at 892 (holding that plaintiffs’ parents were likely to succeed on

similar claims because they “have a fundamental right to seek medical care for their children and,

in conjunction with their adolescent child’s consent and their doctor’s recommendation, make a

judgment that medical care is necessary”), aff’d, 47 F.4th 661 (8th Cir. 2022).

       A.        The Ban Infringes Upon the Fundamental Rights of Parents to Direct the
                 Medical Care of Their Minor Children

       Parents have a fundamental right to direct their children’s healthcare, Brandt, 551

F.Supp.3d at 892-93, a right anchored in the well-established liberty interest that parents hold in

the “care, custody, and control of their children.” See Troxel, 530 U.S. at 65 (tracing the long

history of parents’ due process rights to make decisions for their children); see also, Parham v.

J.R., 442 U.S. 584, 602 (1979) (parents have a right to “seek and follow medical advice” for their

children). Where a medical treatment is recommended to a minor, parents are entrusted with the

responsibility to weigh the risks and benefits of treatment—and in enacting the Healthcare Ban,



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South Carolina strips parents of that role. See, e.g., L. W. by & through Williams v. Skrmetti, 83

F.4th 460, 507-09 (6th Cir.) (White, J., dissenting) (collecting cases).

       Although “the State must play its part as parents patriae” in promoting the wellbeing of

minors, Schall v. Martin, 467 U.S. 253, 265 (1984), no such interest is implicated here. When

parents, their children, and their children’s medical providers align on a particular course of care—

care that has been recognized by every major medical association as safe, effective, and neces-

sary—that decision should be protected against state interference. That is the context here: parents

or legal guardians are the medical decision-makers, advised by healthcare providers and their ad-

olescent child’s informed assent. See Antommaria Decl. ¶ 45; Olson-Kennedy Decl. ¶ 64. H 4624

substitutes the judgment of the State for that of the parent. See Brandt, 551 F. Supp. 3d at 892

(finding that Arkansas’ healthcare ban infringed “right to seek medical care for their children . . .

in conjunction with their adolescent child’s consent and their doctor’s recommendation”); cf. San-

tosky v. Kramer, 455 U.S. 745, 760–61 (1982) (Heightened evidentiary standards are required

where the “vital interest” of the parent and child in preserving their relationship “coincide.”).

       B.      H 4624 Cannot Survive Strict Scrutiny

       As discussed above, H 4624, which intrudes upon the fundamental rights bestowed on Par-

ent Plaintiffs, cannot survive any level of review, let alone strict scrutiny. South Carolina’s ban on

gender-affirming care for minors is nowhere near the “least restrictive” means to address any pur-

ported interest. See Bernal v. Fainter, 467 U.S. 216, 219 (1984). In fact, the law is not narrowly

tailored to any interest—compelling or not. Without any findings or justifications for legislation

that impedes upon the fundamental right of parent to care for their child, “the State could not

withstand either heightened scrutiny or rational basis review.” Brandt, 551 F.Supp.3d at 893.




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III.    Plaintiffs Are Likely to Succeed on Their ACA Claim

        “The Affordable Care Act’s anti-discrimination mandate provides that, ‘[e]xcept as other-

wise provided ... an individual shall not, on the grounds prohibited under Title VI of the Civil

Rights Act ... [and] Title IX ... be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under, any health program or activity, any part of which is receiving

Federal financial assistance.’” Kadel, 100 F.4th at 163-64 (quoting 42 U.S.C. § 18116(a)). The

State cannot credibly dispute that South Carolina’s public health insurance plans, including Med-

icaid and PEBA, receive financial assistance from the federal government. See Complaint (ECF

1) at ¶¶ 21, 24, 26, 29, 232-34, 261.

        Because H 4624’s Coverage Restrictions deny transgender individuals reliant on public

insurance coverage, such as plaintiffs Jane Doe, Jill Ray, and Nina Noe, benefits on the basis of

sex, the law thus violates Section 1557 of the ACA. Under the binding law of this Circuit, denial

of benefits to a transgender person by a state Medicaid program qualifies as sex discrimination

under Title IX, and thereby violates Section 1557 of the ACA, if the public insurance programs

provide those same benefits to the state’s non-transgender citizens. Kadel, 100 F.4th at 163-64. On

the face of Section 340, transgender individuals insured by public health insurers will be denied

coverage for procedures that are otherwise covered for other beneficiaries. See S.C. Code Ann. §

44-42-340. Further examination of South Carolina’s public healthcare plans reveals many proce-

dures which are available to the majority of those enrolled, but that are now unavailable to

transgender individuals. See, e.g., South Carolina Department of Health and Human Services,

“Physicians Services Provider Manual,” available at https://provider.scdhhs.gov/internet/pdf/man-

uals/Physicians/Manual.pdf. H 4624 is therefore facially discriminatory on the basis of sex and

violates Section 1557 of the ACA.


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IV.    Plaintiffs Are Likely to Succeed on Their Medicaid Act Claim

       The Coverage Restrictions violate the Medicaid Act’s guarantees that programs receiving

federal funding (1) not “arbitrarily deny or reduce the amount, duration, or scope of a required

service . . . to an otherwise eligible beneficiary solely because of the diagnosis, type of illness, or

condition,” Kadel, 100 F.4th at 161 (quoting 42 C.F.R. § 440.230(c)), referred to as the “availa-

bility requirement,” and (2) “ensure that services available to any categorically needy individual

are equal in amount, duration, and scope for all beneficiaries within the group,” known as the

“comparability requirement,” id. at 162 (quoting 42 C.F.R. § 440.240(b)(1)) (internal quotations

omitted).

       A.      H 4624’s Categorical Prohibition on Gender-Affirming Medical Care Violates
               the Medicaid Act’s Availability Requirement

       The Coverage Restrictions violate the Medicaid Act’s requirement that South Carolina

cover both mandatory and optional services in sufficient “amount, duration, and scope to reason-

ably achieve its purpose.” 42 C.F.R. § 440.230(b). While the State may place “appropriate limits

on a service based on such criteria as medical necessity or utilization control procedures,” 42

C.F.R. § 440.230(d), it must do so based on “reasonable standards” that are “consistent with the

objectives” of the Medicaid Act, 42 U.S.C. § 1396(a)(17), and may not “arbitrarily deny ... a re-

quired service ... to an otherwise eligible beneficiary solely because of the diagnosis, type of ill-

ness, or condition.” 42 C.F.R. § 440.230(c). Because gender-affirming medical treatments (1) fall

within a category of mandatory or optional medical services that the State has elected to provide;

and (2) are medically necessary, the Coverage Restrictions’ blanket prohibition on such care for

those diagnosed with gender dysphoria violates this requirement by denying medical care to those

who cannot afford it themselves. See Alvarez v. Betlach, 572 F. App’x 519, 520–21 (9th Cir.

2014) (The Medicaid Act “prohibits states from denying coverage of ‘medically necessary’

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services that fall under a category covered in their Medicaid plans.”); Bontrager v. Indiana Fam.

& Soc. Servs. Admin., 697 F.3d 604, 608 (7th Cir. 2012) (States are “required to provide Medicaid

coverage for medically necessary treatments in those service areas that the State opts to provide

such coverage[.]”); Beal v. Doe, 432 U.S. 438, 444 (1977).

       There is no question that South Carolina is either required to or chooses to cover the pro-

cedures required by Plaintiffs—indeed, the Coverage Restrictions explicitly state that public fund-

ing will be denied for treatments only when those treatments are provided or performed as gender-

affirming care. See S.C. Code Ann. §§ 44-42-310(5)-(6), -340, -350. These restrictions prevent

those diagnosed with gender dysphoria from receiving medically necessary gender-affirming care.

See Statement of Facts §III, supra. As recognized by the Fourth Circuit in Kadel, this categorical

denial of coverage for “specific, medically necessary procedure[s]” required to address gender

dysphoria “is not a reasonable standard consistent with the objectives of the Act.” Kadel, F.4th at

162 (quoting Hern v. Beye, 57 F.3d 906, 911 (10th Cir. 1995)); see also Pinneke v. Preisser, 623

F.2d 546, 549 (8th Cir. 1980) (A policy establishing an “irrebuttable presumption that the proce-

dure of sex reassignment surgery can never be medically necessary” violates Medicaid’s availa-

bility requirement).

       Further, by prohibiting coverage of various procedures only when they are “performed for

the purposes of assisting an individual with a physical gender transition,” § 44-42-310(6), the Cov-

erage Restrictions facially bar coverage for medically necessary procedures “based on [a gender

dysphoria] diagnosis alone,” cf. supra Statement of Facts § IV, and thus violates the availability

requirement. Kadel, 100 F.4th at 162.




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       B.      The Coverage Restrictions’ Prohibition on Gender-Affirming Care Violates
               the Medicaid Act’s Comparability Requirement

       The Coverage Restrictions violate the comparability requirement by failing to ensure

transgender individuals receive services “equal in amount, duration, and scope” with other Medi-

caid beneficiaries. Kadel, 100 F.4th at 162 (citing 42 C.F.R. § 440.240(b)(1)-(2)). As discussed in

Section I.A, supra, these restrictions prohibit funding for care to transgender individuals that Med-

icaid would otherwise provide. Because South Carolina “cannot get around the comparability re-

quirement by defining the relevant services as services aimed at treating only some medical con-

ditions (i.e., non-gender dysphoria conditions) any more than it can get around the Equal Protection

Clause by doing so,” this restriction violates the Medicaid Act’s comparability requirement. Kadel,

100 F.4th at 162–63; see also White v. Beal, 555 F.2d 1146, 1151 (3d Cir. 1977) (“[N]othing in

the federal statute [] permits discrimination based upon etiology rather than need for the service.”).

V.     A Preliminary Injunction is Necessary

       A.      Plaintiffs Suffer Immediate and Irreparable Harm While H 4624 is in Effect

       If permitted to remain in effect, H 4624 will continue to inflict severe and irreparable harm

on Plaintiffs and members of the putative Plaintiff Classes for which no adequate remedy at law

exists. As discussed above, the law violates the constitutional rights of transgender South Carolin-

ians and their families, which is itself irreparable harm. “Because there is a likely constitutional

violation, the irreparable harm factor is satisfied.” Leaders of a Beautiful Struggle v. Baltimore

Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021).

       But the harm of the statute goes much further. By enforcing H 4624, Defendants deprive

patients of vitally important medical care by either preventing the initiation of treatment or cutting

patients off from necessary treatment; force families to watch their children suffer or incur the

significant expense of regular travel or relocation out-of-state to access care; and compel medical

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providers to abandon their patients while also threatening their medical licenses. The irreversible

harm to transgender adolescents who imminently may be forced to undergo endogenous puberty

clearly outweighs any potential state interest in immediate enforcement of the Ban. The Coverage

Restrictions similarly prevent adult South Carolinians that rely on public insurance for their

healthcare coverage —and those receiving their care from public hospitals—from receiving med-

ically necessary gender-affirming care.

         Defendants’ denial of this care not only results in the prolonging and intensification of

gender dysphoria; the medical consensus is that it causes additional distress and poses other health

risks, including depression, posttraumatic stress disorder, and suicidality. Karasic Decl. ¶¶ 65-66

(citing the recommendations of the American Medical Association, American Psychiatric Associ-

ation, and American College of Obstetricians and Gynecologists). “[I]f left untreated,” gender dys-

phoria diagnoses such as those received by Plaintiffs “can lead to self-mutilation and suicide.”

Kadel, 620 F. Supp. 3d at 380 (M.D.N.C. 2022).

         Plaintiffs have suffered—and will continue to suffer—severe and irreparable harm as a

result of H 4624, including the deprivation of medically necessary care, the denial of insurance

coverage for necessary (and long scheduled) procedures, and the inability to access necessary care

from the medical professionals who are best positioned to provide Plaintiffs with safe, effective

care.

                1.     Plaintiffs Cannot Access Medically Necessary Care

         Plaintiff Nancy Noe and her 15-year-old daughter, Nina Noe live in South Carolina. Nancy

Noe Decl. ¶ 2. Nina is transgender. Nancy Noe Decl. ¶ 5. Nina was assigned the male sex at birth,

but she and her mother understood at a very young age that Nina was not a boy. Nancy Noe

Decl. ¶ 5; Nina Noe Decl. ¶ 4. At age seven, Nina told her mother that she had a “girl brain and a


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boy body.” Nancy Noe Decl. ¶ 6; Nina Noe Decl. ¶ 5. Nina was later diagnosed with gender dys-

phoria. Nancy Noe Decl. ¶ 8. After consulting with physicians Nina and Nancy decided to start

Nina on HRT as medically necessary treatment for her gender dysphoria. Nancy Noe Decl. ¶ 12.

Nina has been on hormone treatment for several years now and is “elated” with the physical

changes she has seen, which have helped relieve her gender dysphoria and brought her greater

confidence. Nancy Noe Decl. ¶ 13; Nina Noe Decl. ¶ 13. Nina receives healthcare coverage

through a Medicaid plan, and up until now Medicaid has covered her hormone therapy. Nancy

Noe Decl. ¶ 14. Nina and Nancy are now deeply concerned that they will not be able to find care

for Nina in South Carolina, and that they will not receive any coverage under Medicaid for treat-

ment obtained elsewhere. Nancy Noe Decl. ¶ 16. Nina is deeply distressed over the prospect of

losing access to gender-affirming care, and her mother is worried about her daughter’s future and

mental health. Nina Noe Decl. ¶ 14. Nancy is also worried about the financial future of her family

should they be forced to pay for Nina’s care out of pocket. Nancy Noe Decl. ¶ 16.

       Plaintiff Gary Goe and his seventeen-year-old son Grant Goe live in Anderson County,

South Carolina. Gary Goe Decl. ¶ 3; Grant Goe Decl.¶ 3. Grant is transgender. Grant Goe Decl.

¶ 4. He has known since a very young age that his gender identity did not match his sex assigned

at birth, and he has lived as the boy he is for nearly four years. Grant Goe Decl. ¶¶ 5, 7-8. After

careful consideration by Gary, his wife, Grant, and Grant’s medical team, Gary and his wife de-

cided to start Grant on HRT as medically necessary treatment for his gender dysphoria. Gary

Goe Decl. ¶¶ 10-17. Grant has been on HRT for the last four months and has experienced signifi-

cant positive improvement, which his family has witnessed. Gary Goe Decl. ¶¶ 19, 22; Grant Goe

Decl. ¶¶ 16-17. Grant is terrified at the possibility of not being able to access the care that has

greatly improved his life because of the Healthcare Ban. Grant Goe Decl. ¶¶ 18-21. Gary and his

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wife are so worried about the impact on Grant’s health and life from stopping HRT that they have

been forced to consider uprooting their family to go to a state that allows Grant to continue access-

ing this life-saving care. Gary Goe Decl. ¶ 27.

               2.      Plaintiffs Are Denied Insurance Coverage for Medically Necessary
                       Care

       Plaintiff Jane Doe is a transgender woman living in Charleston, South Carolina. Doe Decl.

¶ 3. She is scheduled for surgery on November 11, 2024 that will not go forward absent a prelim-

inary injunction. Doe Decl. ¶ 10. She is a physician employed by the state of South Carolina and

has been living in the state with her wife since 2020. Doe Decl. ¶ 4. Doe has experienced feelings

of gender dysphoria from a young age, but did not feel that she had the space to come out as

transgender. Doe Decl. ¶¶ 3, 6. Doe was able to safely live as herself in 2020, when she moved to

South Carolina, and was formally diagnosed with gender dysphoria the next year. Doe Decl. ¶¶ 7,

8. After consulting with her physicians, Doe began hormone treatment. Doe Decl. ¶ 8. This treat-

ment has dramatically relieved Doe’s symptoms of dysphoria and her overall well-being. Doe

Decl. ¶ 9. After further consultation with physicians, Doe had hoped to receive surgery this year

as the next step in her treatment plan. Doe Decl. ¶ 4. Doe is insured through a state healthcare plan

administered by PEBA. Doe Decl. ¶ 11. Doe had hoped to have her surgery completed before the

end of the year so that she could be fully recovered before her wife gives birth in February of next

year. Doe Decl. ¶ 10. However, she was informed in July of 2024 that PEBA is required to adhere

to state law, thereby indicating to her that they would no longer cover her gender-affirming sur-

gery. Doe Decl. ¶ 12. Doe and her family were devastated to receive this news, especially because

she and her wife have already taken on a great financial burden to welcome a baby next year. Doe

Decl. ¶ 14. Although she has scheduled her surgical procedure for November 11, 2024, she will

not be able to access this care without insurance coverage due to the cost. Doe Decl. ¶ 10. Doe
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needs this medically necessary healthcare to be the best version of herself, for her family and for

her patients at South Carolina hospitals. Doe Decl. ¶¶ 14, 16. She is disappointed that the state has

interfered in a decision best left to patients and doctors, concerned about the financial effect it will

have on her family, and terrified that she will not be able to access this care before the birth of her

child. Doe Decl. ¶¶ 14, 16.

       Plaintiff Jill Ray is a transgender woman living in South Carolina. Ray Decl. ¶¶ 3, 8. Ray

has been receiving gender-affirming care for her gender dysphoria for almost four years. Ray Decl.

¶¶ 9-11. Before she began receiving gender-affirming care, Ray was so depressed and anxious she

could not even leave her home. Ray Decl. ¶ 10. Gender-affirming care has given Ray her life back.

It has brought her closer to her spouse and enabled her to build a loving and happy community.

Ray Decl. ¶¶ 17, 18. Ray plans to undergo gender-affirming surgery, which her doctors have re-

ferred her for as medically necessary treatment for her gender dysphoria, to bring her body into

alignment with who she is. Ray Decl. ¶¶ 19, 20. Without gender-affirming surgery, she will expe-

rience pain and harm because without it she cannot be her true self. Ray Decl. ¶ 20. Ray cannot

pay the exorbitant cost of gender-affirming surgery out-of-pocket. Ray Decl. ¶¶ 14, 23. Without

the PEBA coverage she receives through her spouse, Ray will not be able to get her medically

necessary procedure. Ray Decl. ¶¶ 16, 22. Worrying about not being able to get the care she needs

is stressful and debilitating for Ray, who is forced to contemplate feeling unsafe in her own body.

Ray Decl. ¶ 25.

               3.      Plaintiffs Cannot Access Necessary Care from the Medical
                       Professionals Well-Suited to Provide Them with Safe and Effective
                       Care

       Plaintiff Sterling Misanin is a transgender man living in Charleston, South Carolina. Mis-

anin Decl. ¶ 3. Misanin has experienced feelings of gender dysphoria since he was a young child,


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but first received a diagnosis of gender dysphoria in March of 2022. Misanin Decl. ¶¶ 6, 13. After

consulting with physicians, Misanin began hormone therapy that year, and after further consulta-

tion, was able to undergo chest masculinization surgery. Misanin Decl. ¶¶ 13, 17. Misanin’s gender

affirming care has greatly improved his day-to-day life. Misanin Decl. ¶¶ 16-18, 28. After speaking

with his primary care provider and other members of his care team at MUSC, Misanin determined

that the next step in his treatment plan would be to receive a hysterectomy, and so Misanin sched-

uled a procedure with MUSC for June 28, 2024. Misanin Decl. ¶¶ 12, 19, 20. MUSC subsequently

informed him, just a few days before surgery, that due to the passage of H 4624 they would no

longer be able to provide gender affirming care. Misanin Decl. ¶ 23. The Public Funds Restriction

not only has delayed his access to medically necessary care for months as he goes through the

arduous process of finding another provider and receiving new preauthorization form his insurer,

Misanin Decl. ¶¶ 25, 26, it continues to deprive him of the ability to access future care, including

additional surgeries to alleviate his dysphoria, from his care team at MUSC. Misanin Decl. ¶¶ 12,

19, 23. Being turned away from MUSC has forced Misanin to seek care at clinics which are less

able to protect his medical privacy. Misanin Decl. ¶¶ 19, 25.

       B.      The Balance of Equities Favors Plaintiffs and a Preliminary Injunction is in
               the Public Interest

       The balance of equities weighs heavily in favor of Plaintiffs. The harms inflicted by H 4624

far outweigh any potential harms that Defendants might face if preliminary injunctive relief is

granted, as Defendants would only temporarily lose the ability to disrupt the status quo— a status

quo grounded in years of established medical practice—with a new law that does not advance any

legitimate state interest and is likely to be held unconstitutional. See League of Women Voters of

N.C. v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014) (“[The Fourth Circuit has] defined the

status quo for this purpose to be the last uncontested status between the parties which preceded the
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controversy . . . [I]t is sometimes necessary to require a party who has recently disturbed the status

quo to reverse its actions, but such an injunction restores, rather than disturbs, the status quo

ante.”). “[A] state is in no way harmed by issuance of a preliminary injunction which prevents the

state from enforcing restrictions likely to be found unconstitutional. If anything, the system is

improved by such an injunction.” Leaders of a Beautiful Struggle, 2 F.4th at 346 (citations

omitted).

       Similarly, granting an injunction in this case will undoubtedly serve the public interest. As

the Fourth Circuit has made clear, “it is well-established that the public interest favors protecting

constitutional rights.” Id.; see also Centro Tepeyac v. Montgomery Cnty., 722 F.3d 184, 191 (4th

Cir. 2013).

       These harms—including the deprivation of medically necessary care, the denial of insur-

ance coverage for necessary procedures, and the inability to access necessary care from the medical

professionals who are well-suited to provide safe and effective care—are similarly being experi-

enced by members of the proposed Plaintiff Classes all across the State of South Carolina.

VI.    A Classwide Injunction Is Necessary to Protect the Classes

       As discussed in Section V of the Complaint and in the Motion for Class Certification, the

Class Representatives and the members of the Classes they represent have identical claims for

injunctive relief, and the Class members have suffered the same injury as the Class Representa-

tives. Courts have recognized that “the lack of formal class certification does not create an obstacle

to classwide preliminary injunctive relief when activities of the defendant are directed generally

against a class of persons.” Rodriguez v. Providence Comty. Corrs., Inc., 155 F. Supp. 3d 758, 767

(M.D. Tenn. 2015); see also J.O.P. v. U.S. Dep’t of Homeland Security, 409 F. Supp. 3d 367, 376

(D. Md. 2019) (“[C]ourts may enter class-wide injunctive relief before certification of a class.”);


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Brandon v. Marshall, No. 2:24-CV-00265, 2024 WL 2834014 (S.D. W. Va. June 4, 2024) (grant-

ing a preliminary injunction to a putative, pre-certification class); Newberg on Class Actions §

4:30 (5th ed. 2013) (“[A] court may issue a preliminary injunction in class suits prior to a ruling

on the merits.”). Because the Healthcare Ban is directed against South Carolinian transgender mi-

nors and their parents and the Public Funds Restriction is directed against transgender South Car-

olinians who rely on state-funded health insurance and healthcare, the Court should grant a pre-

liminary injunction enjoining enforcement of the harmful provisions of H 4624 against the respec-

tive putative Classes.

        Plaintiffs’ and the Classes’ entitlement to classwide relief is especially strong in light of

the prima facie case for class certification set forth in Plaintiffs’ pending motion. Plaintiffs’ sought-

after relief—the enjoinment of the Healthcare Ban as to the members of the Minor Class and the

Parent Class, Compl. at 60 (Request for Relief § B), and the enjoinment of the Public Funds Re-

striction as to the members of the Insurance Class and the MUSC Class, id.—is necessary to pre-

vent irreparable harm against the members of each Class.

                                           CONCLUSION

        Plaintiffs respectfully request that the Court enjoin Defendants from enforcing H 4624

against the Plaintiffs and members of the putative Classes during the pendency of this litigation.




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Respectfully submitted,

/s/ Meredith McPhail
Allen Chaney (Fed. Id. No. 13181)
Meredith McPhail (Fed. Id. No. 13500)
ACLU OF SOUTH CAROLINA
P.O. Box 1668
Columbia, SC 29202
T: 864-372-6881
achaney@aclusc.org
mmcphail@aclusc.org

/s/ Sruti Swaminathan
Sruti Swaminathan*
Harper Seldin*
AMERICAN CIVIL LIBERTIES UNION
FOUNDATION
125 Broad St., Fl 18
New York, NY 10004
T: 212-549-2500
hseldin@aclu.org
sswaminathan@aclu.org

/s/ Julie Singer
David S. Flugman*
Corey Stoughton*
Julie Singer*
SELENDY GAY PLLC
1290 Avenue of the Americas
New York, NY 10104
T: 212-390-9000
dflugman@selendygay.com
cstoughton@selendygay.com
jsinger@selendygay.com

* Application for Admission Pro Hac Vice Forthcoming

Attorneys for Plaintiffs




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